                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JITENDRA JAIN,
MANISH ARORA,
SCARIYA KUMARAMANGALAM,
HARSH DATTA, and
BALVANT ARORA, as individuals, and derivatively
on behalf of NEXGEN MEMANTINE, INC.,

         Plaintiffs,                                 Case No.: 8:20-cv-02263-VMC-JSS

v.

NEXGEN MEMANTINE, INC.,
SUREN AJJARAPU,
ANNAPURNA GUNDLAPALLI,
GAJAN MAHENDIRAN,
NEXGEN LIFESCIENCES, LLC,
TRXADE GROUP, INC.,
G&S COAL TRADERS, LLC,

         Defendants.
                                             /

                       NEXGEN MEMANTINE, INC.’S PRIVILEGE LOG

         Defendant/Cross-claim Plaintiff, Nexgen Memantine, Inc., hereby serves its Privilege Log

in response to Plaintiffs’ First Request for Production of Documents:


     Date       Identification            Description                            Privilege
      10/2/2017 Memantine 000448 -       Email correspondence between            Attorney-Client
                Memantine 000490         attorneys and client reflecting legal
                                         advice
                                         From: Nichola@mcintyrefirm.com
                                         To: Dean A. Kent; Rich McIntyre
                                         CC: Suren Ajjarapu; Patricia A.
                                         Holliday
Date       Identification        Description                            Privilege
 10/4/2017 Memantine 000513 -   Email correspondence between            Attorney-Client
           Memantine 000525     attorney and client regarding
                                engagement for legal advice
                                From: Suren Ajjarapu
                                <ceo@sansurre.com>
                                To: Patricia A. Holliday (Trenam)
                                CC: Dean A. Kent
10/10/2017 Memantine 000557 -   Email correspondence between            Attorney-Client
           Memantine 000558     attorneys and client regarding legal
                                advice
                                From: DKent@trenam.com
                                To: Nelson T. Castellano (Trenam)
                                CC: Suren Ajjarapu
                                (ceo@sansurre.com); Rich McIntyre
 8/14/2018 Memantine 000621 -   Email correspondence between            Attorney-Client
           Memantine 000653     attorneys reflecting legal advice for
                                client
                                From: Jacob S. Felman
                                <JFelman@trenam.com>
                                To: dsaslow@mcintyrefirm.com
                                CC: Nelson T. Castellano
                                NCastellano@trenam.com; Dean A.
                                Kent DKent@trenam.com

 2/21/2019 Memantine 000766 -   Email correspondence between            Attorney-Client
           Memantine 000767     attorneys and client reflecting legal
                                advice
                                From: Suren Ajjarapu
                                <ceo@sansurre.com>
                                To: David Saslow
                                CC: Dean A. Kent
 5/30/2019 Memantine 000791 -   Email correspondence between            Attorney-Client
           Memantine 000792     attorneys and client regarding legal
                                advice
                                From: dsaslow@mcintyrefirm.com
                                To: Dean A. Kent
                                CC: Suren Ajjarapu
  6/5/2019 Memantine 000800     Email correspondence between            Attorney-Client
                                attorney and client regarding legal
                                advice
                                From: AChrisman@trenam.com To:
                                suren@trxade.com
                                CC: Dean A. Kent



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Date       Identification        Description                             Privilege
  6/5/2019 Memantine 000813     Email correspondence between             Attorney-Client
                                attorney and client regarding legal
                                advice
                                From: AChrisman@trenam.com
                                To: Suren Ajjarapu
                                CC: Dean A. Kent
 7/25/2019 Memantine 000832 -   Email correspondence between             Attorney-Client
           Memantine 000833     attorneys and client in furtherance of
                                legal advice
                                From: DKent@trenam.com
                                To: David Saslow
                                CC: Suren Ajjarapu <ceo>
 7/25/2019 Memantine 000834 -   Email correspondence between             Attorney-Client
           Memantine 000835     attorneys and client in furtherance of
                                legal advice
                                From: David Saslow
                                To: Dean A. Kent
                                CC: Suren Ajjarapu <ceo>
 7/26/2019 Memantine 000842     Email correspondence between             Attorney-Client
                                attorney and client regarding legal
                                advice
                                From: AChrisman@trenam.com
                                To: Suren Ajjarapu
                                CC: Dean A. Kent
 7/26/2019 Memantine 000850     Email correspondence between             Attorney-Client
                                attorney and client regarding legal
                                advice
                                From: AChrisman@trenam.com To:
                                Suren Ajjarapu
                                CC: Dean A. Kent
 7/29/2019 Memantine 000858 -   Email correspondence of client           Attorney-Client
           Memantine 000866     forwarding himself correspondence
                                from attorneys reflecting legal advice
                                From: Suren@trxade.com
                                To: Suren Ajjarapu Forwarding
                                From: Ashley M. Chrisman
                                AChrisman@trenam.com
                                To: Suren Ajjarapu
                                suren@trxade.com
                                CC: Dean A. Kent
                                <DKent@trenam.com>




                                       3
Date       Identification        Description                             Privilege
 7/29/2019 Memantine 000867 -   Email correspondence of client           Attorney-Client
           Memantine 000875     forwarding himself correspondence
                                from attorneys reflecting legal advice
                                From: Suren@trxade.com
                                To: Suren Ajjarapu Forwarding
                                From: Ashley M. Chrisman
                                AChrisman@trenam.com
                                To: Suren Ajjarapu
                                suren@trxade.com
                                CC: Dean A. Kent
                                <DKent@trenam.com>

 7/29/2019 Memantine 000876 -   Email correspondence of client           Attorney-Client
           Memantine 000884     forwarding himself correspondence
                                from attorneys reflecting legal advice
                                From: Suren@trxade.com
                                To: Suren Ajjarapu Forwarding
                                From: Ashley M. Chrisman
                                AChrisman@trenam.com
                                To: Suren Ajjarapu
                                suren@trxade.com
                                CC: Dean A. Kent
                                <DKent@trenam.com>

 8/21/2019 Memantine 000887 -   Email correspondence between             Attorney-Client
           Memantine 000895     attorneys and client reflecting legal
                                advice
                                From: dsaslow@mcintyrefirm.com
                                To: Dean A. Kent
                                CC: Suren Ajjarapu
 10/5/2017 Memantine 001755     Email correspondence between             Attorney-Client
                                attorney and client reflecting legal
                                advice
                                From: Suren Ajjarapu
                                <ceo@sansurre.com>
                                To: Dean A. Kent
10/10/2017 Memantine 001787 -   Email correspondence between             Attorney-Client
           Memantine 001788     attorneys and client in furtherance of
                                legal advice
                                From: Suren Ajjarapu
                                <ceo@sansurre.com>
                                To: Dean A. Kent; Nelson T.
                                Castellano
                                CC: Rich McIntyre


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Date       Identification        Description                             Privilege
10/12/2017 Memantine 001794 -   Email correspondence between             Attorney-Client
           Memantine 001803     attorneys and client in furtherance of
                                legal advice
                                From: DKent@trenam.com
                                To: Suren Ajjarapu
                                CC: Rich McIntyre; Patricia A.
                                Holliday
10/13/2017 Memantine 001804     Email correspondence between             Attorney-Client
                                attorneys and client in furtherance of
                                legal advice
                                From: DKent@trenam.com
                                To: Suren Ajjarapu
                                CC: Rich McIntyre; Patricia A.
                                Holliday
10/17/2017 Memantine 001805     Email correspondence between             Attorney-Client
                                attorney and client seeking legal
                                advice
                                From: Suren Ajjarapu
                                <ceo@sansurre.com>
                                To: Dean A. Kent
10/17/2017 Memantine 001806 -   Email correspondence between             Attorney-Client
           Memantine 001808     attorneys and client regarding legal
                                advice
                                From: rich@mcintyrefirm.com
                                To: Dean A. Kent
                                CC: Suren Ajjarapu; Patricia A.
                                Holliday
10/17/2017 Memantine 001809 -   Email correspondence between             Attorney-Client
           Memantine 001810     attorneys and client regarding legal
                                advice
                                From: DKent@trenam.com
                                To: Rich McIntyre
                                CC: Suren Ajjarapu; Patricia A.
                                Holliday
10/31/2017 Memantine 001880 -   Email correspondence between             Attorney-Client
           Memantine 001886     attorney and client seeking legal
                                advice
                                From: Suren Ajjarapu
                                <ceo@sansurre.com>
                                To: Dean A. Kent
 5/29/2019 Memantine 002290 -   Email correspondence between             Attorney-Client
           Memantine 002291     attorneys and client reflecting legal
                                advice
                                From: dsaslow@mcintyrefirm.com
                                To: Suren Ajjarapu; Dean A. Kent

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Date       Identification       Description                             Privilege
 11/8/2017 Memantine 002400-   Email correspondence between             Attorney-Client
           Memantine 002422    attorneys and client in furtherance of
                               legal advice
                               From: Suren Ajjarapu
                               <ceo@sansurre.com>
                               To: Nelson T. Castellano
                               CC: Dean A. Kent; Rich McIntyre;
                               Patricia A. Holliday
 9/29/2017 Memantine 003239-   Email correspondence between             Attorney-Client
           Memantine 003243    attorneys and client reflecting legal
                               advice
                               From: Dkent@trenam.com
                               To: Rich McIntyre
                               CC: Suren Ajjarapu; Patricia
                               Holliday
 9/29/2017 Memantine 003244-   Email correspondence between             Attorney-Client
           Memantine 003249    attorneys and client reflecting legal
                               advice
                               From: Rich McIntyre
                               To: Dean Kent
                               CC: Suren Ajjarapu; Patricia
                               Holliday
 10/2/2017 Memantine 003250-   Email correspondence between             Attorney-Client
           Memantine 003252    attorneys and client regarding legal
                               advice
                               From: Nichola@mcintyrefirm.com
                               To: Dean Kent; Rich McIntyre
                               CC: Suren Ajjarapu; Patricia
                               Holliday
 10/2/2017 Memantine 003294-   Email correspondence between             Attorney-Client
           Memantine 003294    attorneys and client in furtherance of
                               legal advice
                               From: ceo@sansurre.com
                               To: Nichola Murphy
                               CC: Dean Kent; Rich McIntyre;
                               Patricia Holliday




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Date       Identification       Description                            Privilege
10/30/2017 Memantine 003344-   Email correspondence between            Attorney-Client
           Memantine 003348    attorneys and client reflecting legal
                               advice
                               From: Dkent@trenam.com
                               To: Rich McIntyre; Suren Ajjarapu
                               CC: Patricia Holliday

10/30/2017 Memantine 003349-   Email correspondence between            Attorney-Client
           Memantine 003349    attorneys and client reflecting legal
                               advice
                               From: ceo@sansurre.com
                               To: Dean Kent
                               CC: Rich McIntyre; Patricia
                               Holliday
10/31/2017 Memantine 003350-   Email correspondence between            Attorney-Client
           Memantine 003355    attorneys and client reflecting legal
                               advice
                               From: Dkent@trenam.com
                               To: Suren Ajjarapu
                               CC: Rich McIntyre; Patricia
                               Holliday
10/31/2017 Memantine 003356-   Email correspondence between            Attorney-Client
           Memantine 003358    attorneys and client reflecting legal
                               advice
                               From: ceo@sansurre.com
                               To: Dean Kent
                               CC: Rich McIntyre; Patricia
                               Holliday
10/31/2017 Memantine 003359-   Email correspondence between            Attorney-Client
           Memantine 003365    attorneys and client reflecting legal
                               advice
                               From: Dkent@trenam.com
                               To: Suren Ajjarapu
                               CC: Rich McIntyre; Patricia
                               Holliday
11/13/2017 Memantine 003372-   Email correspondence between            Attorney-Client
           Memantine 003372    attorneys and client reflecting legal
                               advice
                               From: rich@mcintyrefirm.com
                               To: Dkent@trenam.com;
                               Ncastellano@trenam.com
                               CC: Suren Ajjarapu; Rich
                               McIntyre;Nichola Murphy
                                      7
Date       Identification       Description                            Privilege
11/13/2017 Memantine 003373-   Email correspondence between            Attorney-Client
           Memantine 003378    attorneys and client reflecting legal
                               advice
                               From: Dkent@trenam.com
                               To: Rich McIntyre; Nelson
                               Castellano
                               CC: Suren Ajjarapu; Nichola
                               Murphy
11/13/2017 Memantine 003379-   Email correspondence between            Attorney-Client
           Memantine 003385    attorneys and client reflecting legal
                               advice
                               From: ncastellano@trenam.com
                               To: Dean Kent; Rich McIntyre
                               CC: Suren Ajjarapu; Nichola
                               Murphy
11/14/2017 Memantine 003390-   Email correspondence between            Attorney-Client
           Memantine 003397    attorneys and client reflecting legal
                               advice
                               From: Nichola@mcintyrefirm.com
                               To: Nelson Castellano; Dean Kent;
                               Rich McIntyre
                               Cc: Suren Ajjarapu
11/14/2017 Memantine 003398-   Email correspondence between            Attorney-Client
           Memantine 003404    attorneys and client reflecting legal
                               advice
                               From: Dkent@trenam.com
                               To: Nichola Murphy
                               CC: Nelson Castellano; Rich
                               McIntyre; Suren Ajjarapu
11/14/2017 Memantine 003405-   Email correspondence between            Attorney-Client
           Memantine 003406    attorneys and client reflecting legal
                               advice
                               From: Nichola@mcintyrefirm.com
                               To: Dean Kent
                               CC: Nelson Castellano; Rich
                               McIntyre; Suren Ajjarapu




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Date       Identification       Description                             Privilege
11/14/2017 Memantine 003407-   Email correspondence between             Attorney-Client
           Memantine 003415    attorneys and client reflecting legal
                               advice
                               From: Ncastellano@trenam.com
                               To: Nichola Murphy; Dean Kent;
                               Rich McIntyre
                               CC: Suren Ajjarapu
11/14/2017 Memantine 003416-   Email correspondence between             Attorney-Client
           Memantine 003419    attorneys and client reflecting legal
                               advice
                               From: ceo@sansure.com
                               To: Nelson Castellano
                               CC: Nichola Murphy; Dean Kent;
                               Rich McIntyre
11/15/2017 Memantine 003420-   Email correspondence between             Attorney-Client
           Memantine 003428    attorneys and client reflecting legal
                               advice
                               From: ceo@sansurre.com
                               To: Nelson Castellano; Nichola
                               Murphy; Dean Kent; Rich
                               McIntyre
11/15/2017 Memantine 003429-   Email correspondence between             Attorney-Client
           Memantine 003429    attorneys and client in furtherance of
                               legal advice
                               From: Dkent@trenam.com
                               To: Suren Ajjarapu; Nelson
                               Castellano

11/30/2017 Memantine 003439-   Email correspondence between             Attorney-Client
           Memantine 003439    attorneys and client in furtherance of
                               legal advice
                               From: ceo@sansurre.com
                               To: Dkent@trenam.com




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Date        Identification       Description                            Privilege
2/19/2019   Memantine 003565-   Email correspondence between            Attorney-Client
            Memantine 003578    attorneys and client reflecting legal
                                advice
                                From: jwolff@trenam.com
                                To: Suren@trxade.com

2/19/2019   Memantine 003579-   Email correspondence between            Attorney-Client
            Memantine 003592    attorneys and client reflecting legal
                                advice
                                From: jwolff@trenam.com
                                To: Suren@trxade.com

2/21/2019   Memantine 003593-   Email correspondence between            Attorney-Client
            Memantine 003603    attorneys and client reflecting legal
                                advice
                                From: jwolff@trenam.com
                                To: Suren@trxade.com

3/7/2019    Memantine 003616-   Email correspondence between            Attorney-Client
            Memantine 003627    attorneys and client reflecting legal
                                advice
                                From: jwolff@trenam.com
                                To: Suren@trxade.com

3/18/2019   Memantine 003671-   Email correspondence between            Attorney-Client
            Memantine 003672    attorneys and client reflecting legal
                                advice
                                From: David Saslow
                                To: Dean Kent
                                CC: Suren Ajjarapu
3/18/2019   Memantine 003673-   Email correspondence between            Attorney-Client
            Memantine 003674    attorneys and client reflecting legal
                                advice
                                From: ceo@sansurre.com
                                To: David Saslow; Dean Kent




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Date       Identification       Description                             Privilege
 3/19/2019 Memantine 003677-   Email correspondence between             Attorney-Client
           Memantine 003684    attorneys and client reflecting legal
                               advice
                               From: Dean Kent
                               To: David Saslow
                               CC: Suren Ajjarapu
 3/26/2019 Memantine 003685-   Email correspondence between             Attorney-Client
           Memantine 003692    attorneys and client relating to legal
                               advice
                               From: Dean Kent
                               To: David Saslow
                               CC: Suren Ajjarapu
 4/24/2019 Memantine 003693-   Email correspondence between             Attorney-Client
           Memantine 003698    attorneys and client reflecting legal
                               advice
                               From: jwolff@trenam.com
                               To: Suren Ajjarapu
 4/29/2019 Memantine 003699-   Email correspondence between             Attorney-Client
           Memantine 003700    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Dean Kent
                               CC: Suren Ajjarapu
 5/15/2019 Memantine 003701-   Email correspondence between             Attorney-Client
           Memantine 003702    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Dean Kent
                               CC: Suren Ajjarapu
 6/24/2019 Memantine 003703-   Email correspondence between             Attorney-Client
           Memantine 003703    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Suren Ajjarapu
                               CC: Dean Kent




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Date       Identification       Description                            Privilege
 7/16/2019 Memantine 003706-   Email correspondence between            Attorney-Client
           Memantine 003706    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Dean Kent
                               CC: Suren Ajjarapu
 7/16/2019 Memantine 003708-   Email correspondence between            Attorney-Client
           Memantine 003708    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Dean Kent
                               CC: Suren Ajjarapu
 7/23/2019 Memantine 003712-   Email correspondence between            Attorney-Client
           Memantine 003712    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Dean Kent
                               CC: Suren Ajjarapu
 7/24/2019 Memantine 003713-   Email correspondence between            Attorney-Client
           Memantine 003713    attorneys and client reflecting legal
                               advice
                               From: David Saslow
                               To: Dean Kent
                               CC: Suren Ajjarapu
12/11/2017 Memantine 003981-   Email correspondence between            Attorney-Client
           Memantine 003984    attorneys and client reflecting legal
                               advice
                               From: Rich McIntyre
                               To: Suren Ajjarapu
                               CC: Nichola Murphy
 2/21/2019 Memantine 004909-   Email correspondence between            Attorney-Client
           Memantine 004911    attorneys and client reflecting legal
                               advice
                               From: dsaslow@mcintyrefirm.com
                               To: Suren Ajjarapu
                               CC: Dean Kent




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Date       Identification        Description                             Privilege
 3/26/2019 Memantine 004971-    Email correspondence between             Attorney-Client
           Memantine 005011     attorneys and client reflecting legal
                                advice
                                From: dsaslow@mcintyrefirm.com
                                To: Dean Kent
                                CC: Suren Ajjarapu
 5/30/2019 Memantine 005090-    Email correspondence between             Attorney-Client
           Memantine 005093     attorneys and client reflecting legal
                                advice
                                From: dsaslow@mcintyrefirm.com
                                To: Dean Kent
                                CC: Suren Ajjarapu
08/14/2018 Memantine 005613 -   Email correspondence between             Attorney-Client
           Memantine 005617     attorneys and client in furtherance of
                                legal advice
                                From: Suren Ajjarapu
                                To: David Saslow

09/21/2017 Memantine 005618 -   Email correspondence between             Attorney-Client
           Memantine 005619     attorneys and client seeking legal
                                advice
                                From: Dean A. Kent
                                To: Suren Ajjarapu

09/20/2017 Memantine 005620 -   Email correspondence between             Attorney-Client
           Memantine 005621     attorneys and client reflecting legal
                                advice
                                From: Suren Ajjarapu
                                To: Dean A. Kent

10/02/2017 Memantine 005622 -   Email correspondence between             Attorney-Client
           Memantine 005623     attorneys and client in furtherance of
                                legal advice
                                From: Suren Ajjarapu
                                To: Patricia A. Holliday
                                CC: Dean A. Kent




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Date       Identification        Description                             Privilege
10/03/2017 Memantine 005624 -   Email correspondence between             Attorney-Client
           Memantine 005625     attorneys and client in furtherance of
                                legal advice
                                From: Patricia A. Holliday
                                To: Suren Ajjarapu
                                CC: Dean A. Kent
10/04/2017 Memantine 005626 -   Email correspondence between             Attorney-Client
           Memantine 005627     attorneys and client in furtherance of
                                legal advice
                                From: Patricia A. Holliday
                                To: Suren Ajjarapu
                                CC: Dean A. Kent
10/04/2017 Memantine 005628 -   Email correspondence between             Attorney-Client
           Memantine 005630     attorneys and client in furtherance of
                                legal advice
                                From: Suren Ajjarapu
                                To: Patricia A. Holliday
                                CC: Dean A. Kent
10/04/2017 Memantine 005631 -   Email correspondence between             Attorney-Client
           Memantine 005634     attorneys and client in furtherance of
                                legal advice
                                From: Patricia A. Holliday
                                To: Suren Ajjarapu
                                CC: Dean A. Kent
10/09/2017 Memantine 005635     Email correspondence between             Attorney-Client
                                attorneys and client seeking legal
                                advice
                                From: Rich McIntyre
                                To: Dean A. Kent; Suren Ajjarapu

10/09/2017 Memantine 005636     Email correspondence between             Attorney-Client
                                attorneys and client regarding legal
                                advice
                                From: Dean A. Kent
                                To: Rich McIntyre CC: Suren
                                Ajjarapu




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 Date        Identification        Description                           Privilege
10/09/2017   Memantine 005637 -   Email correspondence between           Attorney-Client
             Memantine 005638     attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Rich McIntyre; Suren Ajjarapu
10/09/2017   Memantine 005639 -   Email correspondence between           Attorney-Client
             Memantine 005640     attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent
                                  CC: Rich McIntyre
10/09/2017   Memantine 005641 -   Email correspondence between           Attorney-Client
             Memantine 005642     attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
                                  CC: Rich McIntyre
10/09/2017   Memantine 005643     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu; Rich McIntyre;
                                  Nelson T. Castellano
10/09/2017   Memantine 005644     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu; Rich
                                  McIntyre;Nelson T. Castellano
10/10/2017   Memantine 005645     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu; Rich
                                  McIntyre;Nelson T. Castellano




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 Date        Identification        Description                            Privilege
10/10/2017   Memantine 005646 -   Email correspondence between            Attorney-Client
             Memantine 005648     attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
                                  CC: Rich McIntyre
10/13/2017   Memantine 005649 -   Email correspondence between            Attorney-Client
             Memantine 005651     attorneys and client reflecting legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent
                                  CC: Rich McIntyre; Patricia A.
                                  Holliday
10/18/2017   Memantine 005652     Email correspondence between            Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu; Rich McIntyre;
                                  Patricia A. Holliday
10/19/2017   Memantine 005653     Email correspondence between            Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu; Rich McIntyre
                                  CC: Nelson T. Castellano; Patricia A.
                                  Holliday
10/19/2017   Memantine 005654     Email correspondence between            Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Rich McIntyre
                                  To: Dean A. Kent
                                  CC: Suren Ajjarapu; Nelson T.
                                  Castellano; Patricia A. Holliday
10/19/2017   Memantine 005655     Email correspondence between            Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Rich McIntyre
                                  CC: Suren Ajjarapu; Nelson T.
                                  Castellano; Patricia A. Holliday



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 Date        Identification        Description                           Privilege
10/19/2017   Memantine 005656     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Nelson T. Castellano
                                  To: Dean A. Kent
                                  CC: Rich McIntyre; Suren Ajjarapu;
                                  Patricia A. Holliday
10/19/2017   Memantine 005657     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Nelson T. Castellano
                                  CC: Rich McIntyre; Suren Ajjarapu;
                                  Patricia A. Holliday
10/20/2017   Memantine 005658     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Nelson T. Castellano
                                  CC: Dean A. Kent; Rich McIntyre;
                                  Patricia A. Holliday
10/20/2017   Memantine 005659     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Nelson T. Castellano
                                  To: Suren Ajjarapu
                                  CC: Dean A. Kent; Rich McIntyre;
                                  Patricia A. Holliday
10/20/2017   Memantine 005660 -   Email correspondence between           Attorney-Client
             Memantine 005662     attorneys and client regarding legal
                                  advice
                                  From: Rich McIntyre
                                  To: Nelson T. Castellano
                                  CC: Suren Ajjarapu; Dean A. Kent;
                                  Patricia A. Holliday; Rich
                                  McIntyre




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 Date        Identification        Description                           Privilege
11/15/2017   Memantine 005672     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
                                  CC: Nelson T. Castellano
11/15/2017   Memantine 005673     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent
11/16/17     Memantine 005674     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
11/16/2017   Memantine 005675     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent
11/28/2017   Memantine 005676     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent
11/29/2017   Memantine 005677 -   Email correspondence between           Attorney-Client
             Memantine 005678     attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
11/29/2017   Memantine 005679     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
                                  CC: Nelson T. Castellano




                                         18
 Date        Identification        Description                           Privilege
11/30/2017   Memantine 005680     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent
                                  CC: Nelson T. Castellano
11/30/2017   Memantine 005681 -   Email correspondence between           Attorney-Client
             Memantine 005682     attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
                                  CC: Nelson T. Castellano
11/30/2017   Memantine 005683     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Dean A. Kent
                                  To: Suren Ajjarapu
                                  CC: Nelson T. Castellano
11/30/2017   Memantine 005684     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Dean A. Kent

02/19/2019   Memantine 005710     Email correspondence between           Attorney-Client
                                  attorneys and client regarding legal
                                  advice
                                  From: Suren Ajjarapu
                                  To: Joshua J. Wolff

02/19/2019   Memantine 005711 -   Email correspondence between           Attorney-Client
             Memantine 005713     attorneys and client regarding legal
                                  advice
                                  From: Joshua J. Wolff
                                  To: Suren Ajjarapu




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 Date        Identification        Description                            Privilege
03/20/2019   Memantine 005714 -   Email correspondence between            Attorney-Client
             Memantine 005715     attorneys and client regarding legal
                                  advice
                                  From: David Saslow
                                  To: Suren Ajjarapu
                                  CC: Dean A. Kent
06/03/2019   Memantine 005716 -   Email correspondence between            Attorney-Client
             Memantine 005717     attorneys and client reflecting legal
                                  advice
                                  From: Dean A. Kent
                                  To: David Saslow
                                  CC: Suren Ajjarapu
08/21/2019   Memantine 005750 -   Email correspondence between            Attorney-Client
             Memantine 005752     attorneys and client reflecting legal
                                  advice
                                  From: Dean A. Kent
                                  To: David Saslow CC: Suren Ajjarapu
11/04/2019   Memantine 005753 -   Email correspondence between            Attorney-Client
             Memantine 005754     attorneys and client reflecting legal
                                  advice
                                  From: Dean A. Kent
                                  To: David Saslow
                                  CC: Suren Ajjarapu
12/17/2019   Memantine 005755 -   Email correspondence between            Attorney-Client
             Memantine 005756     attorneys and client reflecting legal
                                  advice
                                  From: Dean A. Kent
                                  To: David Saslow
                                  CC: Suren Ajjarapu




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